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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
SHAWN MUSGRAVE,                           )
                                          )
                 Plaintiff,               )
                                          )     Civil Action No. 1:21-cv-02198-BAH
              v.                          )
                                          )
MARK WARNER and                           )
U.S. SENATE SELECT COMMITTEE              )
ON INTELLIGENCE,                          )
                                          )
                 Defendants.              )
__________________________________________)


       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                DEFENDANTS’ MOTION TO DISMISS


                                    Patricia Mack Bryan, Bar #335463
                                    Senate Legal Counsel

                                    Morgan J. Frankel, Bar #342022
                                    Deputy Senate Legal Counsel

                                    Grant R. Vinik, Bar #459848
                                    Assistant Senate Legal Counsel

                                    Thomas E. Caballero
                                    Assistant Senate Legal Counsel

                                    Office of Senate Legal Counsel
                                    642 Hart Senate Office Building
                                    Washington, D.C. 20510-7250
                                    (202) 224-4435 (tel), (202) 224-3391 (fax)

                                    Attorneys for Defendants
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                                        INTRODUCTION

       In 2009, the Senate Select Committee on Intelligence (“SSCI” or the “Committee”) began

a multi-year study of the Central Intelligence Agency’s terrorist detention and interrogation

program instituted following the attacks of 9/11. After finishing its review, the Committee

adopted a 6,700-page report detailing its study of the CIA program. Report of the Senate Select

Committee on Intelligence Committee Study of the Central Intelligence Agency’s Detention and

Interrogation Program, S. Rep. No. 113-288 (2014) [hereinafter “Report”]. That Report is

classified based on the determination that it contains information the release of which could

damage the national security of the United States. In 2013, the Committee voted to submit for

declassification the Report’s Executive Summary and Findings and Conclusions, which together

totaled over 500 pages. In December 2014, the Committee released to the public those

declassified portions and at the same time submitted the full Report to the Senate. The full

Report remains classified and has never been publicly released.

       Plaintiff files this suit to compel SSCI and its Chairman, Senator Mark Warner, to

disclose to him the full classified Report, claiming that he is entitled to the Report under the

common law right of access to public records. Plaintiff alleges that SSCI’s interest in keeping

the Report secret is outweighed by the public interest in disclosure of the full Report, Compl.

¶ 38, and, under the common law right of access, requests that the Court grant him the

extraordinary and unprecedented relief of ordering a congressional committee and its chairman

to provide him with a classified committee report that neither the committee nor the Senate has

authorized for release to the public.

       Plaintiff’s complaint, which seeks relief that would significantly intrude upon the Senate’s

legislative processes, should be dismissed as it is barred on jurisdictional grounds by the Speech or


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Debate Clause, U.S. Const. art. I, § 6, cl. 1, and sovereign immunity. The Speech or Debate Clause

of the Constitution precludes suit against committees or Members of Congress that arises from or

seeks to question or control their legislative activities. Committee reports fall squarely within the

sphere of legislative activity protected by the Clause, and neither Senators nor Senate committees

may be subjected to suit to force them to disclose reports that the committee has not released

publicly. While plaintiff suggests, citing a concurring opinion in a recent D.C. Circuit case,

Judicial Watch, Inc. v. Schiff, 998 F.3d 989 (D.C. Cir. 2021), that the common law right of access

outweighs the Speech or Debate Clause protection in this case, the Supreme Court and the D.C.

Circuit have made clear that, where the Clause applies, it “is an absolute bar to interference[,]”

Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 503 (1975) (emphasis added); see also Rangel

v. Boehner, 785 F.3d 19, 23 (D.C. Cir. 2015) (Clause provides “absolute immunity”) (emphasis

added), and, thus, cannot be overcome by plaintiff’s asserted common law right.

       Plaintiff’s suit is also jurisdictionally barred because the Committee and Chairman

Warner, sued in his official capacity, are protected by sovereign immunity. Plaintiff’s complaint

fails to identify any statutory waiver of that immunity, nor does his common law claim qualify

for the Larson-Dugan exception to sovereign immunity.

       In addition to these jurisdictional bars, plaintiff’s complaint should be dismissed for

failure to state a claim as a matter of law because the common law right of access does not apply

to documents of a House of Congress, which are subject to each House’s control under the

Constitution’s Journal and Rulemaking Clauses, art. I, § 5, cl. 2 & 3. See Goland v. CIA, 607

F.2d 339, 346 (D.C. Cir. 1978) (“Congress has undoubted authority to keep its records secret,

authority rooted in the Constitution, longstanding practice, and current congressional rules.”),

vacated in part on other grounds, 607 F.2d at 367 (D.C. Cir. 1979) (per curiam). Recognizing a


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common law right to access confidential Senate records would contravene Senate rules and

procedures and directly undermine the autonomy granted to the Senate in the Journal and

Rulemaking Clauses, thus infringing the separation of powers between the branches that such

constitutional provisions reinforce.

        Even if the common law right of access did apply to Senate records, plaintiff’s complaint

would nevertheless fail to state a claim because the classified SSCI Report is not subject to

compelled disclosure under the standards of that doctrine, as “the need to ‘guard against risks to

national security interests’ overcomes a common-law claim for access.” Dhiab v. Trump, 852

F.3d 1087, 1098 (D.C. Cir. 2017) (quoting United States v. Hubbard, 650 F.2d 293, 315-16

(D.C. Cir. 1980)).

        Accordingly, plaintiff’s complaint should be dismissed because it is jurisdictionally

barred and fails to state a claim.

                                         BACKGROUND

        A.      Responsibilities of the Senate Select Committee on Intelligence.

        In 1976, in response to a recommendation by a Senate select committee that had

conducted an in depth study of the intelligence community (often called the “Church Committee”

after its chairman), see S. Rep. No. 94-755 (1976), Book II, at 339 (recommendation 96), the

Senate established a permanent Select Committee on Intelligence (“SSCI” or “the Committee”)

“to oversee and make continuing studies of the intelligence activities and programs of the United

States Government, and to submit to the Senate appropriate proposals for legislation and report

to the Senate concerning such intelligence activities and programs.” S. Res. 400, 94th Cong., 2d

Sess. (1976) [attached as Exhibit A]. The Senate charged SSCI with the responsibility “to

provide vigilant legislative oversight over the intelligence activities of the United States to assure


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that such activities are in conformity with the Constitution and laws of the United States.” Id.

To carry out its responsibilities, the Senate authorized SSCI “to make investigations into any

matter within its jurisdiction,” id. § 5(a), and to bring “to the attention of the Senate . . . any

matters requiring the attention of the Senate.” Id. § 4(a).

        Recognizing that SSCI would handle documents of the utmost sensitivity, including

national security information classified pursuant to procedures established by Executive order, the

Senate placed tight restrictions on access to and disclosure of Committee information. See id. §§ 6-8.

Senate Resolution 400, as amended, specifies the mechanism for SSCI to disclose information

publicly, including intricate procedures for SSCI to seek to disclose classified information it has

received. Id. § 8. Furthermore, the resolution restricts any disclosure of protected committee

material by any Member, officer, or employee of the Senate, id. § 8(c), and authorizes the Senate

Select Committee on Ethics “to investigate any unauthorized disclosure of intelligence information

by a Member, officer or employee of the Senate” who violates that prohibition. Id. § 8(d).

        B.      SSCI’s Study of the Central Intelligence Agency’s Detention
                and Interrogation Program.

        On December 11, 2007, SSCI received a briefing from CIA Director Michael Hayden

regarding the destruction of videotapes of CIA interrogations of certain detainees. See Report of

the Senate Select Committee on Intelligence Committee Study of the Central Intelligence

Agency’s Detention and Interrogation Program, S. Rep. No. 113-288, at 8 (2014).1 After that

briefing, SSCI began a review of the destruction of videotapes related to CIA interrogations. Id.

Out of that review, SSCI determined that a broader study of the CIA’s detention and



        1
          As explained infra at 5, the Executive Summary and Findings and Conclusions of the
SSCI Study were declassified (with redactions) and published. Citations to the SSCI Report are
to that publicly-released, declassified 500-page summary.

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interrogation program was needed, and, on March 5, 2009, the Committee, by a vote of 14-1,

approved Terms of Reference detailing the scope and mechanism for conducting a study of the

CIA program. Id. The Committee’s years-long study resulted in a report exceeding 6,700 pages

with approximately 38,000 footnotes. Id. On December 13, 2012, SSCI voted 9-6 to approve the

Report of the Committee’s study. Id.

       SSCI then requested that particular Executive agencies review and provide comment on

the Report. Id. at 9. SSCI received a written response from the CIA and held a series of

meetings with the agency. Id. The Committee also received Minority views on the Report from

some of its Members. Id. The Committee revised its findings and conclusions and updated the

Report after receiving this input. Id. On April 3, 2014, by an 11-3 vote, the Committee sent the

Report’s Executive Summary and Findings and Conclusions (over 500 pages) to the President for

declassification and public release. Id. On December 9, 2014, the full 6,700-page SSCI Report

was submitted to the Senate for review by Senators in a secure setting, and the declassified

Executive Summary and findings and conclusions were released to the public. See 160 Cong.

Rec. S6447 (daily ed. Dec. 9, 2014) (report submitted by SSCI); id. at S6405 (statement of Sen.

Feinstein); SSCI Press Release, Committee Releases Study of the CIA's Detention and

Interrogation Program (Dec. 9, 2014), available at https://www.intelligence.

senate.gov/press/committee-releases-study-cias-detention-and-interrogation-program. At the

same time, a copy of the full classified SSCI Report was provided to the President and Executive

agencies. See Letter of Dec. 9, 2014 from Sen. Dianne Feinstein to Senate President Pro

Tempore Patrick Leahy, reprinted in S. Rep. No. 113-288, at i; Compl. ¶ 25.

       At the beginning of the 114th Congress, in January 2015, Senator Richard Burr succeeded

Senator Feinstein as Chairman of SSCI. On January 14, 2015, Senator Burr sent a letter to the


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President requesting that “all copies of the full and final report in the possession of the Executive

Branch be returned immediately to the Committee.” ACLU v. CIA, 823 F.3d 655, 661 (D.C. Cir.

2016) (quoting Letter from Sen. Richard Burr to President Barack Obama (Jan. 14, 2015)); see also

Compl. ¶ 27. Senator Burr again requested return of copies of the SSCI Report from the Executive

Branch in May 2017. See Cox v. Dep’t of Justice, 504 F. Supp. 3d 119, 130 (E.D.N.Y. 2020)

(describing letter). While copies from various agencies were returned to SSCI, the copy provided

to President Obama was maintained as part of his presidential records subject to the Presidential

Records Act. See Letter from W. Neil Eggleston, Counsel to the President, to Sen. Dianne

Feinstein (Dec. 9, 2016), available at http://go.usa.gov/x86nB. In addition, Judge Lamberth

ordered the preservation of a copy of the report by the Department of Defense and deposit of a copy

with the District Court in connection with pending Guantanamo Bay litigation. See Order, ECF No.

268, Al-Nashiri, et al. v. Bush, et al., No. 08-cv-1207 (D.D.C. Dec. 28, 2016). The full SSCI

Report has not been released to the public and remains classified. See S. Rep. No. 113-288, at iv.

       C.      FOIA Litigation in this Circuit Over the SSCI Report.

       In 2016, the D.C. Circuit ruled in a FOIA suit brought by the ACLU seeking the SSCI

Report from the CIA. ACLU v. CIA, 823 F. 3d 655 (D.C. Cir. 2016). The court of appeals,

relying on established circuit precedent delineating when documents in an Executive agency’s

possession constitute congressional records not subject to FOIA2, held that the SSCI Report was

not an agency record under FOIA. See id. at 661-68. The court found that “the Senate



       2
         Goland v. CIA, 607 F.2d 339, 344-48 (D.C. Cir. 1978), vacated in part on other
grounds, 607 F.2d at 367 (D.C. Cir. 1979) (per curiam); Holy Spirit Ass’n for the Unification of
World Christianity v. CIA, 636 F.2d 838, 839-42 (D.C. Cir. 1980), vacated in part on other
grounds, 455 U.S. 997 (1982); Paisley v. CIA, 712 F.2d 686, 692-94 (D.C. Cir. 1983), vacated in
part on other grounds, 724 F.2d 201 (D.C. Cir. 1984) (per curiam)); United We Stand America v.
IRS, 359 F.3d 595, 599-601 (D.C. Cir. 2004).

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[Intelligence] Committee’s intent to retain control of the Full Report is clear,” and “[t]he Full

Report therefore remains a congressional document that is not subject to disclosure under FOIA.”

Id. at 667-68. As the court noted, SSCI correspondence with the Executive branch in

conjunction with the SSCI Study “made it clear that the Committee would determine if and when

to publicly disseminate the Full Report.” Id. at 667.3

       D.      Plaintiff’s Request for the SSCI Report and Filing of this Lawsuit.

       Plaintiff sent a letter on June 4, 2021, to the General Counsel of SSCI requesting a copy

of the full SSCI Report, Compl. ¶ 26, but was not provided a copy. Id. ¶ 37. Plaintiff then filed

this lawsuit on August 18, 2021, against SSCI and its current Chairman, Senator Mark Warner,

asserting a claim under the common law right of access to public records. Id. ¶ 38. Plaintiff

alleges that the Report “is a ‘public record’ . . . that does not implicate the Speech or Debate

Clause rights of any individual Member of Congress or Committee to a meaningful extent, and

SSCI’s interest in keeping it secret is outweighed by the uniquely significant public interest in

disclosure of the full Report.” Id. In support of plaintiff’s common-law-right-of-access claim,

the complaint quotes at length from the concurring opinion in a recent D.C. Circuit decision,

Judicial Watch, Inc. v. Schiff, 998 F.3d 989 (D.C. Cir. 2021). Compl. ¶¶ 9-13.




       3
          In a pending FOIA lawsuit in the Eastern District of New York seeking disclosure of
the SSCI Report from the Executive Branch, Cox v. Dep’t of Justice, et al., No. 17-CV-3329
(E.D.N.Y.), the district court denied a motion to dismiss finding that, on the limited record the
court could consider on such a motion, the court lacked sufficient evidence to “say that Congress
‘manifested a clear intent to control’ the SSCI Report.” 504 F. Supp. 3d 119, 150 (E.D.N.Y.
2020). That suit remains pending before the district court, and the Department of Justice has
moved for summary judgment, in part on the ground that submission of additional materials
outside the complaint establish that the Report is a congressional record not subject to FOIA. See
Defendants’ Mot. for Summ. Judgment, ECF No. 60, Cox v. Dep’t of Justice, et al., No. 17-cv-
3329 (E.D.N.Y.).

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       For relief, plaintiff asks the Court to order SSCI and its Chairman to produce the SSCI

Report to him, “declare that the common law right of access applies to committees of the U.S.

Senate,” and “direct the [non-party] Secretary of the Senate to develop a standardized process for

the handling of such requests.” Id., Prayer for Relief.

                                           ARGUMENT

I.     THE SPEECH OR DEBATE CLAUSE BARS PLAINTIFF’S SUIT TO
       COMPEL SSCI AND ITS CHAIRMAN TO PRODUCE THE SSCI
       REPORT.

       Under well established Supreme Court and D.C. Circuit precedent, including the recent

majority opinion for the Circuit panel in Judicial Watch, Inc. v. Schiff, 998 F.3d 989, 991-93

(D.C. Cir. 2021), the SSCI Report constitutes a Senate committee’s communication to the Senate

on a matter within the legislative sphere, and, therefore, the Committee and its Chairman are

absolutely protected from compelled disclosure of the Report by the Speech or Debate Clause.

       The Speech or Debate Clause provides that “for any Speech or Debate in either House,

[Senators and Representatives] shall not be questioned in any other Place.” U.S. Const. art. I,

§ 6, cl. 1. The Clause’s purpose “is to insure that the legislative function the Constitution

allocates to Congress may be performed independently,” Eastland v. U.S. Servicemen’s Fund,

421 U.S. 491, 502 (1975), “without regard to the distractions of private civil litigation or the

perils of criminal prosecution.” Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d at 415;

see also Judicial Watch, Inc. v. Schiff, 998 F.3d at 991 (“[Clause’s] purpose is ‘to protect the

individual legislator, not simply for his own sake, but to preserve the independence and thereby

the integrity of the legislative process.’” (quoting United States v. Brewster, 408 U.S. 501, 524

(1972)); McCarthy v. Pelosi, 5 F.4th 34, 38 (D.C. Cir. 2021) (“The central object of the Speech

or Debate Clause is to protect the independence and integrity of the legislature.”) (internal


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quotation marks and citation omitted), pet. for cert. filed, No. 21-395 (Sept. 13, 2021). By

preserving the independence of the legislative process, the Clause serves to “reinforc[e] the

separation of powers so deliberately established by the Founders.” Judicial Watch, 998 F.3d at

991 (quoting Eastland, 421 U.S. at, 502).

       To effectuate this independence, the Speech or Debate Clause provides Members of

Congress with immunity from suit and “a testimonial and non-disclosure privilege” that protects

Members “from being compelled to answer questions about legislative activity or produce

legislative materials.” Howard v. Office of Chief Administrative Officer of U.S. House of

Representatives, 720 F.3d 939, 946 (D.C. Cir. 2013). This privilege provides Members and

committees of Congress with absolute immunity from compelled testimony, Eastland, 421 U.S.

at 499 n.13, and the production of documents. See Judicial Watch, 998 F.3d at 992; Brown &

Williamson, 62 F.3d at 420; MINPECO, S.A. v. Conticommodity Services, Inc., 844 F.2d 856,

859 (D.C. Cir. 1988); United States v. Peoples Temple of the Disciples of Christ, 515 F. Supp.

246, 248-49 (D.D.C. 1981). As this Circuit has stated, for legislative matters under the Speech or

Debate Clause, “[a] party is no more entitled to compel congressional testimony – or production

of documents – than it is to sue congressmen.” Brown & Williamson, 62 F.3d at 421, quoted in

Judicial Watch, 998 F.3d at 992.

       In applying the Speech or Debate Clause, the Supreme Court has counseled that, because

“the guarantees of the Clause are vitally important to our system of government,” they “are

entitled to be treated by the courts with the sensitivity that such important values require.”

Helstoski v. Meanor, 442 U.S. 500, 506 (1979). And so, “[w]ithout exception,” the Supreme

Court has “read the Speech or Debate Clause broadly to effectuate its purposes.” Eastland, 421

U.S. at 501; Judicial Watch, 998 F.3d at 991 (same); Rangel, 785 F.3d at 23 (same).


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Accordingly, “although it speaks of ‘Speech or Debate,’” courts have recognized that the Clause

“extends to protect all ‘legislative acts.’” Judicial Watch, 998 F.3d at 991 (quoting Doe v.

McMillan, 412 U.S. 306, 312 (1973)); McCarthy, 5 F.4th at 39 (“[T]he Clause applies not just to

speech and debate in the literal sense, but to all ‘legislative acts.’”). That is, the Clause provides

immunity for all actions “within the sphere of legitimate legislative activity,” Eastland, 421 U.S.

at 501, which encompasses “anything ‘generally done in a session of the House by one of its

members in relation to the business before it.’” Doe v. McMillan, 412 U.S. 306, 311 (1973)

(quoting Kilbourn v. Thompson, 103 U.S. 168, 204 (1881)). The Clause, thus, protects

       the deliberative and communicative processes by which Members participate in
       committee and House proceedings with respect to the consideration and passage
       or rejection of proposed legislation or with respect to other matters which the
       Constitution places within the jurisdiction of either House[.]

Gravel v. United States, 408 U.S. 606, 625 (1972); McCarthy, 5 F.4th at 39. Where the Clause

applies, its protections are absolute. See Eastland, 421 U.S. at 503 (“[O]nce it is determined that

Members are acting within the ‘legitimate legislative sphere’ the Speech or Debate Clause is an

absolute bar to interference.”) (emphasis added).

       The SSCI Report falls squarely within the legislative sphere covered by the Speech or

Debate Clause. Committee investigations are conducted, and reports of those investigations

made, to support the legislative responsibilities of the Senate. See Ass’n of Am. Physicians and

Surgeons v. Schiff, 518 F. Supp. 3d 505, 518 (D.D.C. 2021) (“Supreme Court and D.C. Circuit

precedent make clear that investigating and information gathering enjoy protection under the

Clause.”), appeal docketed, No. 21-5080 (D.C. Cir. Apr. 7, 2021). As such, committee reports

are undoubtedly matters “generally done in a session of the House by one of its members in

relation to the business before it,’” Doe v. McMillan, 412 U.S. at 311, and are among the “the



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deliberative and communicative processes by which Members participate in committee and

House proceedings with respect to the consideration and passage or rejection of proposed legisla-

tion or with respect to other matters which the Constitution places within the jurisdiction of

either House.” Gravel, 408 U.S. at 625. In fact, the Supreme Court has specifically and

consistently found committee reports to be within the protection of the Speech or Debate Clause.

See Hutchinson v. Proxmire, 443 U.S. 111, 124-25 (1979) (“[W]e have held that committee

hearings are protected, even if held outside the Chambers; committee reports are also protected.”)

(emphasis added); Gravel, 408 U.S. at 624 (stating that “voting by Members and committee

reports are protected” by Speech or Debate Clause) (emphasis added); Doe v. McMillan, 412

U.S. at 313; see also Pentagen Technologies Int’l Ltd. v. Committee on Appropriations, U.S.

House of Representatives, 20 F. Supp. 2d 41, (D.D.C. 1998) (holding staff investigative reports

prepared for House committee protected from disclosure by Speech or Debate Clause, where

plaintiff sought production under common law right of access to government records).

        In addition, and closely related, to the protection accorded the SSCI Report itself, the

Committee’s decision not to authorize publication and distribution of the Report is likewise

protected by the Speech or Debate Clause. See Doe v. McMillan, 412 U.S. at 313 (“The acts of

authorizing an investigation . . . , holding hearings . . . , preparing a [committee] report . . . , and

authorizing the publication and distribution of that report were all . . . protected by the Speech or

Debate Clause.”). Consequently, courts “have no authority to oversee the judgment of the

Committee,” id, regarding whether to release its Report to the public.

        The D.C. Circuit’s recent decision in Judicial Watch applies squarely to this case. In

Judicial Watch, the court of appeals found that the Speech or Debate Clause barred plaintiff’s

common-law-right-of-access lawsuit against the House Permanent Select Committee on


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Intelligence and its Chairman seeking disclosure of committee-issued subpoenas and the

responses thereto. The court held that “the Committee’s issuance of subpoenas, whether as part

of an oversight investigation or impeachment inquiry, was a legislative act protected by the

Speech or Debate Clause.” 998 F.3d at 992. On the same reasoning, a committee report of an

oversight investigation is equally a legislative matter protected by the Clause, and, therefore,

plaintiff’s suit against SSCI seeking the Report’s disclosure is constitutionally barred.

       Without referencing the majority opinion in Judicial Watch, plaintiff’s complaint cites to

the concurring opinion in that case to suggest that, even if the Report is protected by the Speech

or Debate Clause, that protection must be balanced against a common law right of access.

Compl. ¶ 9.4 Such balancing, however, is precluded by binding Supreme Court and Circuit

precedent, consistent over five decades, that clearly states that, when the Clause applies, “the

prohibitions of the Speech or Debate Clause are absolute.” Eastland, 421 U.S. at 501 (emphasis

added); see also Rangel, 785 F.3d at 23 (Clause provides “absolute immunity”) (emphasis

added); United States v. Rayburn House Office Building, Room 2113, Washington, D.C. 20515,

497 F.3d 654, 660 (D.C. Cir. 2007) (en banc) (“The bar on compelled disclosure is absolute”)

(emphasis added); Brown & Williamson, 62 F.3d at 416 (stating that “legislative privilege is

‘absolute’ where it applies’”) (emphasis added); MINPECO, S.A., 844 F.2d at 862 (“Once the

legislative act test is met, the principle is absolute.”) (emphasis added and internal quotation

marks and citation omitted). The privilege being absolute, there can be no balancing of the

Speech or Debate Clause protection against the common law right to access public records.

       4
          While the concurring opinion expressed the “belie[f that], in the right case, the
application of the Speech or Debate Clause to a common law right of access claim would require
careful balancing,” the concurring Judge did agree with the panel majority that “under our
precedent, the Speech or Debate Clause of the United States Constitution bars Judicial Watch’s
lawsuit.” Judicial Watch, 998 F.3d at 993 (Henderson, J., concurring).

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Rather, “once it is determined that Members are acting within the ‘legitimate legislative sphere,’

the Speech or Debate Clause is an absolute bar to interference.” Eastland, 421 U.S. at 503.5

        In sum, the SSCI Report falls squarely within the legislative sphere and, therefore, is

protected by the Speech or Debate Clause’s absolute privilege. Accordingly, plaintiff’s suit to

compel the Senate defendants to disclose the Report under the common law right of access to

government records is constitutionally barred.

II.     SENATE DEFENDANTS ARE PROTECTED FROM PLAINTIFF’S SUIT
        BY SOVEREIGN IMMUNITY.

        Plaintiff’s suit against SSCI and Senator Warner seeking release of the SSCI Report is

also barred by sovereign immunity. It is well established that, “[a]bsent a waiver, sovereign

immunity shields the Federal Government and its agencies from suit.” FDIC v. Meyer, 510 U.S.

471, 475 (1994). This immunity protects government entities from suit, as well as government

officials sued in their official capacity, as “an official-capacity suit is, in all respects other than

name, to be treated as a suit against the [government] entity.” Kentucky v. Graham, 473 U.S.

159, 166 (1985). Both SSCI, as a congressional committee, and Senator Warner, as a Senator

and as the Chairman of SSCI sued in his official capacity, are covered by sovereign immunity.

See Rockefeller v. Bingaman, 234 F. App’x 852, 855 (10th Cir. 2007) (unpublished) (affirming

dismissal of suit against Senator and Representative in their official capacities on sovereign

immunity grounds); see also McLean v. United States, 566 F.3d 391, 401 (4th Cir. 2009)

(holding that “sovereign immunity extends to the United States Congress when it is sued as a

branch of the government”); Maarawi v. U.S. Congress, 24 F. App’x 43, 44 (2d Cir. 2001)

(holding Congress protected by sovereign immunity from suit claiming that Members made

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          Such balancing is particularly ill-suited as the Speech or Debate Clause is a
constitutional privilege and the right asserted by plaintiff is based in common law.

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derogatory remarks); Keener v. Congress, 467 F.2d 952, 953 (5th Cir. 1972) (per curiam)

(affirming dismissal because Congress “is protected from suit by sovereign immunity”).

Accordingly, absent a waiver, sovereign immunity precludes plaintiff’s suit.

       Insofar as “[s]overeign immunity is jurisdictional in nature,” Meyer, 510 U.S. at 475,

plaintiff bears the burden to establish affirmatively a waiver of sovereign immunity that would

allow him to bring his claim against the Senate defendants. See Tri–State Hosp. Supply Corp. v.

United States, 341 F.3d 571, 575 (D.C. Cir. 2003); Am. Road and Transp. Builders Ass’n v. EPA,

865 F. Supp. 2d 72, 80 (D.D.C. 2012), aff’d, No. 12-5244, 2013 WL 599474 (D.C. Cir. Jan. 28,

2013). Plaintiff’s complaint fails to identify any such waiver.

       Plaintiff cites two statutes as the basis for asserting this Court’s jurisdiction over his suit –

the general federal question provision, 28 U.S.C. § 1331, and the Mandamus Statute, 28 U.S.C.

§ 1361. See Compl. ¶ 1. Neither provision supports his claim here. First, section 1331 is not a

waiver of the government’s sovereign immunity. See Swan v. Clinton, 100 F.3d 973, 981 (D.C.

Cir. 1996) (“Neither the general federal question statute nor the mandamus statute by itself

waives sovereign immunity.”); Stone v. Dep’t of Housing and Urban Development., 859 F. Supp.

2d 59, 63 (D.D.C. 2012) (section 1331 does not waive sovereign immunity); see also Randall v.

United States, 95 F.3d 339, 345 (4th Cir. 1996) (“[S]ection 1331 ‘is not a general waiver of

sovereign immunity. It merely establishes a subject matter that is within the competence of

federal courts to entertain.’”) (quoting Coggeshall Development Corp. v. Diamond, 884 F.2d 1, 4

(1st Cir. 1989)).

       Second, not only is it “well settled” that the Mandamus Statute, 28 U.S.C. § 1361, “does

not by itself waive sovereign immunity,” Washington Legal Found. v. U.S. Sentencing Comm’n,

89 F.3d 897, 901 (D.C. Cir. 1996); Swan, 100 F.3d at 981; Buaiz v. United States, 471 F. Supp. 2d


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129, 138 (D.D.C. 2007), but, in addition, that statute applies only to Executive branch officials and

not to committees or Members of Congress. See United States v. Choi, 818 F. Supp. 2d 79, 84

(D.D.C. 2011) (“§ 1361 is only a source of jurisdiction for district courts to exercise writs of

mandamus to employees of the Executive branch.”) (citing cases); Howard v. U.S. District Court

for D.C., No. 10-1114, 2010 WL 2639960, at *1 (D.D.C. June 30, 2010) (“the mandamus statute

[28 U.S.C. § 1361] applies to . . . matters arising in the executive branch and its administrative

agencies.”) (internal quotation marks and citation omitted); see also Trackwell v. United States

Government, 472 F.3d 1242, 1247 (10th Cir. 2007); Liberation News Service v. Eastland, 426

F.2d 1379, 1384 (2d Cir. 1970) (“[I]n enacting [ ] § 1361 . . . Congress was thinking solely in

terms of the executive branch.”); Semper v. Gomez, 747 F.3d 229, 250-51 (3d Cir. 2014).

        Neither do the legal authorities plaintiff cites for his cause of action waive sovereign

immunity. Plaintiff brings his suit “pursuant to the common law right of access to public

records, the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and the All Writs Act, 28

U.S.C. § 1651.” Compl., opening paragraph. First, a common law cause of action does not

waive sovereign immunity; rather, only Congress can waive the federal government’s sovereign

immunity, and it must do so unambiguously in statutory text. See Dep’t of the Army v. Federal

Labor Rel. Auth., 56 F.3d 273, 275 (D.C. Cir. 1995) (“[O]fficers of the United States possess no

power through their actions to waive an immunity of the United States or to confer jurisdiction

on a court in the absence of some express provision of Congress.”) (emphasis added); Hubbard v.

Administrator, EPA, 982 F.2d 531, 532 (D.C. Cir. 1992) (“We may not find a waiver unless

Congress’ intent is ‘unequivocally expressed’ in the relevant statute.”); see also Lane v. Pena,

518 U.S. 187, 192 (1996) (“A waiver of the Federal Government’s sovereign immunity must be

unequivocally expressed in statutory text, . . . and will not be implied, [and] . . . will be strictly


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construed, in terms of its scope, in favor of the sovereign.”) (emphasis added).

       Similarly, while the Declaratory Judgment Act provides a remedy when a cause of action

exists, it does not waive sovereign immunity. See Stone, 859 F. Supp. 2d at 58 (“[T]he

Declaratory Judgment Act does not provide a waiver of sovereign immunity.”); Walton v.

Federal Bureau of Prisons, 533 F. Supp. 2d 107, 114 (D.D.C. 2008). Lastly, the All Writs Act,

28 U.S.C. § 1651, provides for writs to issue “in aid of jurisdiction” – presupposing a separate

basis for jurisdiction – and “does not operate as a waiver of sovereign immunity.” Holt v.

Davidson, 441 F. Supp. 2d 92, 96 (D.D.C. 2006); Buaiz, 471 F. Supp. 2d at 138.

       Senate defendants recognize that the Court, based on the D.C. Circuit’s decision in

Washington Legal Foundation v. U.S. Sentencing Comm’n, 89 F.3d 897 (D.C. Cir. 1996),

recently found the Larson-Dugan exception to sovereign immunity to apply to a suit against a

House committee and its chairman under the common law right of access to public records in

Judicial Watch, Inc. v. Schiff, 474 F. Supp. 2d 305, 311-14 (D.D.C. 2020), aff’d on other

grounds, 998 F.3d 989 (D.C. Cir. 2021), and that the Larson-Dugan exception merged the

question of sovereign immunity with the merits of the suit in that case. 474 F. Supp. 2d at 314.6

However, Senate defendants maintain that the Larson-Dugan exception is not applicable here. In

Larson v. Domestic and Foreign Commerce Corp., 337 U.S. 682, 689 (1949), the Supreme Court

found that there may be “suits for specific relief against officers of the sovereign which are not

suits against the sovereign,” and thus not barred by the sovereign’s immunity, in two limited

circumstances:



       6
           The court of appeals did not reach the sovereign immunity issue. Judicial Watch, Inc.
v. Schiff, 998 F.3d at 993 (“Because the Speech or Debate Clause bars Judicial Watch’s lawsuit,
the court need not address the district court’s alternative ground for dismissal based on the
doctrine of sovereign immunity.”).

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       [First,] “where the officer’s powers are limited by statute, his actions beyond those
       limitations are considered individual and not sovereign actions. The officer is not
       doing the business which the sovereign has empowered him to do or he is doing it
       in a way which the sovereign has forbidden. His actions are ultra vires his
       authority and therefore may be made the object of specific relief. . . .

              A second type of case is that in which the statute or order conferring power
       upon the officer to take action in the sovereign's name is claimed to be
       unconstitutional. . . . Here, too, the conduct against which specific relief is sought
       is beyond the officer's powers and is, therefore, not the conduct of the sovereign.

Id. at 689-90.

       The subsequent case of Dugan v. Rank, 372 U.S. 609 (1963), affirmed that the Larson

exception to sovereign immunity applies in two specific instances, cases involving “(1) action by

officers beyond their statutory powers and [where] (2) even though within the scope of their

authority, the powers themselves or the manner in which they are exercised are constitutionally

void.” Id. at 621-22. As the D.C. Circuit has described, “the [Larson-Dugan] exception” applies

to “suits for specific relief against officers of the sovereign allegedly acting beyond statutory

authority or unconstitutionally.” Pollack v. Hogan, 703 F.3d 117, 120 (D.C. Cir. 2012) (internal

quotation marks omitted).

       Plaintiff’s claim here fits neither part of the Larson-Dugan exception. First, plaintiff

makes no claim that the Senate defendants have acted unconstitutionally. Second, plaintiff does

not allege that the defendants have acted “beyond statutory authority.” Plaintiff does assert his

common law claim under the Mandamus Act, 28 U.S.C. § 1361, and the court in Washington

Legal Foundation found that “[i]f a plaintiff seeks a writ of mandamus to force a public official

to perform a duty imposed upon him in his official capacity, . . . no separate waiver of sovereign

immunity is needed[,]” as a claim under the Mandamus Statute qualifies for the Larson-Dugan

exception to sovereign immunity. 89 F.3d at 901 (citing Chamber of Commerce v. Reich, 74



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F.3d 1322, 1329 (D.C. Cir. 1996)). However, as noted earlier, supra at 15, the Mandamus

Statute does not apply to the Senate defendants. Hence, unlike in Washington Legal Foundation,

which relied on the statutory right to mandamus in section 1361 as the basis for the Larson-

Dugan exception, plaintiff here has no such statutory basis to point to.

        Plaintiff’s allegation that the Senate defendants violated a common law right is

insufficient to qualify for the Larson-Dugan exception. See Maynard v. Architect of the Capitol,

— F. Supp. 3d —, 2021 WL 2417350, at *10 (D.D.C. June 14, 2021) (“The Court concludes that

the Larson-Dugan exception is inapplicable here because the plaintiff has identified no statutory

source of authority that limits the defendant’s actions. . . ,” finding allegations that legislative

branch defendant violated duty owed plaintiff arising out of defendant’s human resources manual

insufficient to trigger application of the exception “as defendant’s human resources manual is not

a statute.”).7 As the Supreme Court in Larson explained, the officer’s acting beyond his statutory

authority is what transforms the officer’s acts into “individual and not sovereign actions,” that

lose the cloak of sovereign immunity. 337 U.S. at 689. That the officer in carrying out his duties

may allegedly violate a common law right is not sufficient to remove the protection of sovereign

immunity. See id. (“We hold that if the actions of an officer do not conflict with the terms of his

valid statutory authority, then they are the actions of the sovereign, whether or not they are

tortious under general law[.]”). The Court explained:

        [I]n a suit against an agency of the sovereign, it is not sufficient that [plaintiff]
        claim [an invasion of his recognized legal rights]. Since the sovereign may not be

        7
          While the court of appeals in Chamber of Commerce v. Reich refers to the Larson
exception applying where “the federal officer, against whom injunctive relief is sought, allegedly
acted in excess of his legal authority,” 74 F.3d at 1329, the claim in that case was that the
Secretary of Labor violated the National Labor Relations Act and the Procurement Act – federal
statutes. Both Larson and Dugan clearly state that the exception to sovereign immunity applies
when the officer is alleged to have acted beyond his statutory powers.

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        sued, it must also appear that the action to be restrained or directed is not action of
        the sovereign. The mere allegation that the officer, acting officially, wrongfully
        holds property to which the plaintiff has title does not meet that requirement.
        True, it establishes a wrong to the plaintiff. But it does not establish that the
        officer, in committing that wrong, is not exercising the powers delegated to him
        by the sovereign. If he is exercising such powers the action is the sovereign’s and
        a suit to enjoin it may not be brought unless the sovereign has consented.

Id. at 693 (internal footnotes and citations omitted).

        Accordingly, plaintiff has not identified any statute that waives sovereign immunity for

his claim against the Senate defendants, and the Larson-Dugan exception does not apply to his

common law claim. Therefore, the Court is without jurisdiction to hear plaintiff’s suit.

III.    PLAINTIFF FAILS TO STATE A CLAIM UNDER THE COMMON LAW
        RIGHT OF ACCESS TO GOVERNMENT RECORDS.

        “The courts of this country recognize a general right to inspect and copy public records

and documents, including judicial records and documents.” Nixon v. Warner Communications

435 U.S. 589, 597 (1978) (internal footnotes and citations omitted). The Court in Nixon

recognized that the paucity of case law regarding this seldom-discussed federal common law

right left the courts with little direction on the scope or application of this common law doctrine.

See id. at 598-99 (“It is difficult to distill from the relatively few judicial decisions a

comprehensive definition of what is referred to as the common-law right of access or to identify

all the factors to be weighed in determining whether access is appropriate.”). Post-Nixon, the

D.C. Circuit analyzed the common law right in two successive opinions, Washington Legal

Foundation v. U.S. Sentencing Comm’n (WLF I), 17 F.3d 1446, 1451-52 (D.C. Cir. 1994), and

Washington Legal Foundation v. U.S. Sentencing Comm’n (WLF II), 89 F.3d 897, 902-07 (D.C.

Cir. 1996), concluding that application of the common law right of access entailed a two-step

test: first, a court must decide “whether the document sought is a ‘public record.’ If the answer is



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yes, then the court should proceed to balance the government’s interest in keeping the document

secret against the public’s interest in disclosure.” Id. at 899 (quoting WLF I, 17 F.3d at 1451-52).

        Plaintiff’s complaint fails to state a claim under the common law right of access for two

reasons: (1) the common law right does not apply to documents of a House of Congress; and,

even if it did, (2) the classified SSCI Report is not subject to compelled disclosure under the

standards of that doctrine.

        A.      The Common Law Right of Access to Public Records Does Not Apply to
                Documents of a House of Congress.

        While the D.C. Circuit has stated that the common law right of access applies to all three

branches, see WLF II, 89 F.3d at 903 (citing Schwartz v. U.S. Dep’t of Justice, 435 F. Supp.

1203, 1203 (D.D.C. 1977)); Center for National Security Studies v. U.S. Dep’t of Justice, 331

F.3d 918, 936 (D.C. Cir. 2003), the court of appeals has never directly addressed the applicability

of the doctrine to the records of the House or Senate.8 Hence, the reference to the common law

        8
           The district court in Schwartz v. U.S. Dep’t of Justice held that “Congress is subject to
the common law rule which guarantees the public a right to inspect and copy public records.”
435 F. Supp. 1203, 1204 (D.D.C. 1977). While WLF II cites the Schwartz decision as having been
affirmed, 595 F.2d 888 (D.C. Cir. 1979) (table), see WLF II, 89 F.3d at 903, the matter affirmed
by the court of appeals was a later ruling of the district court regarding the Department of Justice’s
withholding under FOIA, which did not involve the question of the applicability to Congress of the
common law right of access to public records. In Schwartz, the plaintiff brought suit to obtain
records from the Department of Justice (pursuant to FOIA) and from U.S. Representative Peter
Rodino, Chairman of the House Judiciary Committee (pursuant to the common law right of access
to public records). 435 F. Supp. at 1203-04; see also Report of the Comm. on the Judiciary of the
House of Representatives Identifying Court Proceedings and Actions of Vital Interest to Congress,
No. 5, 97th Cong., at 94 (Comm. Print 1980) (H. Print No. 97-5) [excerpt with cited pages provided
at Exhibit B]. After Representative Rodino filed a motion to dismiss on jurisdictional grounds and
for failure to state a claim, the district court issued the ruling cited above holding that the common
law right of access applied to Congress. See Schwartz, 435 F. Supp. at 1203-04. On December 12,
1977, the court granted Representative Rodino’s subsequent summary judgment motion based on
Rodino’s attestation that any responsive documents had been provided. See H. Print No. 97-5, at
96. Later, the Department of Justice separately moved for summary judgment on the documents
it withheld under FOIA. Id. In a February 9, 1978 memorandum order, the court granted that
                                                                                             (continued...)

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right of access applying to the legislative branch has never been analyzed or applied to the House

or Senate by the court of appeals. And none of the state cases cited by the Court in Nixon, or by

this Circuit in WLF II, as a basis for recognizing this common law right involved non-public

records of state legislatures, much less the Congress. Accordingly, the courts are in “uncharted

waters” in coming to terms with the common law right and its potential application to Congress’s

own records. Cf. WLF II, 89 F.3d at 902-03 (explaining that “when we look for guidance

concerning the application of this [common law] right [of access to public records] we find that

we are in uncharted waters[,]” as there were “only a few cases, arising from still fewer contexts,

in which any federal court acknowledged the common law right of access prior to its

endorsement by this court and the Supreme Court [in Nixon].”).

       While this Court previously applied the doctrine to congressional documents, see Judicial

Watch, 474 F. Supp. at 314, the court of appeals did not reach the question. See Judicial Watch,

998 F.3d at 993. Senate defendants submit that the application of the common law doctrine to

Senate documents conflicts with the constitutional powers granted to Congress under our system

of separated powers, previous statements by the D.C. Circuit recognizing Congress’s authority

over its documents, and the nature of congressional activity.

       The Constitution provides that “Each House shall keep a Journal of its Proceedings, and

from time to time publish the same, excepting such parts as may in their Judgment require

Secrecy.” U.S. Const. art. I, § 5, cl. 3 (Journal Clause). This Clause provides Congress with the

       8
        (...continued)
motion and dismissed the case. Id. at 97; see also Report of the House Select Comm. on
Congressional Operations and the Senate Comm. on Rules and Admin. on Court Proceedings
and Actions of Vital Interest to Congress, Part 6, 95th Cong., at 275-83 (Comm. Print 1978)
[excerpt with cited pages provided at Exhibit C]. Plaintiff appealed that February 9, 1978 Order
that addressed only his claims against the Department of Justice; in April 1979, the court of
appeals affirmed the February 9, 1978 Order without opinion. See H. Print No. 97-5, at 97.

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authority to determine which records of its proceedings to make public and which to keep secret.

As the D.C. Circuit has found, “Congress has undoubted authority to keep its records secret,

authority rooted in the Constitution, longstanding practice, and current congressional rules.”

Goland, 607 F.2d at 346 (citing Journal Clause, U.S. Const. art. I, § 5, cl. 3) (footnotes omitted);

United We Stand America, Inc. v. IRS, 359 F.3d 595, 599 (D.C. Cir. 2004) (noting that D.C.

Circuit in Goland had “emphasiz[ed] Congress’ right to keep its own materials confidential”). In

FOIA cases involving congressional records in the hands of Executive agencies, the court of

appeals has noted that compelling disclosure of the documents under that statute “would force

Congress ‘either to surrender its constitutional prerogative of maintaining secrecy, or to suffer an

impairment of its oversight role.’” United We Stand, 359 F.3d at 599 (quoting Goland, 607 F.2d

at 346) (emphasis added); see also ACLU v. C.I.A., 823 F.3d 655, 663 (D.C. Cir. 2016). To

whatever extent the common law right of public access applies to government documents

generally, the Constitution’s Journal Clause supersedes that right with regard to Congress’s own

documents and gives the House and Senate each the authority to determine which of their

respective records to keep confidential.

       The Constitution also allocates to each House of Congress the authority to “determine the

Rules of its Proceedings.” U.S. Const. art. I, § 5, cl. 2. Pursuant to this power, the Senate has

enacted various rules governing the disclosure and dissemination of Senate documents, see Rules

XI, XXIX.5 of the Standing Rules of the Senate. In addition, the Senate has established specific

rules regarding the disclosure of sensitive information by SSCI, particularly classified material

such as the SSCI Report. See S. Res. 400, 94th Cong., 2d Sess., § 8 (1976), as amended; id.

§ 4(a) (in reporting to the Senate, SSCI “shall proceed in a manner consistent with section 8(c)(2)

to protect national security”); see also SSCI Committee Rule 9 (“Procedures for Handling


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Classified or Committee Sensitive Material”)9.

       In addition, the Senate has established procedures for archiving committee records and

provided for a default schedule for public availability for records held at the National Archives,

as appropriate. See Senate Rule XI.2 (“The Secretary of the Senate shall obtain at the close of

each Congress all the noncurrent records of the Senate and of each Senate committee and transfer

them to the National Archives and Records Administration for preservation, subject to the orders

of the Senate.”); S. Res. 474, 96th Cong. (1980), reprinted in S. Doc. No. 116-1, at 194-96 (2020)

(providing rules for public access to Senate records, including committee records, deposited with

the National Archives, but not authorizing public disclosure if “prohibited by law or Executive

order”); see also In re Shepard, 800 F. Supp. 2d 37, 40-41 (D.D.C. 2011) (“The U.S. Senate and

House of Representatives determine the rules of access to congressional records held by NARA.

For Senate records, access is governed by Senate Resolution 474 of the 96th Congress. . . .”).

       Permitting courts to entertain suits seeking to impose a common law right of access to

Senate records would contravene these Senate rules and procedures and directly undermine the

powers granted the Senate in the Rulemaking Clause, thereby infringing on the separation of

powers between the branches. “Decisions regarding public access to congressional records are

properly committed to Congress. The judiciary has never asserted the institutional competence to

make such decisions, and there is no principled basis for doing so here. The Senate and House

rules plainly do not permit access to the requested records at this time.” In re Shepard, 800 F.

Supp. 2d at 41; cf. Exxon Corp. v. FTC, 589 F.2d 582, 590 (D.C. Cir. 1978) (“[W]here

constitutional rights are not violated, there is no warrant for the judiciary to interfere with the



       9
        Committee rules are adopted by committees pursuant to authority granted them by
Senate Rule XXVI.2.

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internal procedures of Congress[.]”). To the extent that there was a recognized common law

right of access to legislative records, the Senate rules, enacted pursuant to its constitutional

authority, have displaced it. See In re Motions of Dow Jones & Co., 142 F.3d 496, 504 (D.C.

Cir. 1998) (“In any event, even if there were once a common law right of access to materials of

the sort at issue here, the common law has been supplanted by Rule 6(e)(5) and Rule 6(e)(6) of

the Federal Rules of Criminal Procedure. These Rules, not the common law, now govern.”); cf.

McKeever v. Barr, 920 F.3d 842, 848-49 (D.C. Cir. 2019) (finding that Fed. R. Crim. P. 6(e)

eliminated any “preexisting authority at common law” of district court to disclose grand jury

materials), cert. denied, 140 S. Ct. 597 (2020).

       The application of the common law right of public access is particularly ill-suited to the

records of Congress. Congress has traditionally provided broad access to its activities. Senate

floor proceedings were first opened to the public in 1795, have been broadcast on live television

since 1986, and are made available to the public in the printed Congressional Record and

archived on the Senate website (www.senate.gov). Most committee hearings and business

meetings are also broadcast or live-streamed and archived on the Senate website – and notices of

these activities are circulated beforehand. See Senate Rules XXVI.5(b) & (e), XXVI.4(a).

       Committee reports and other Senate documents are available to the public (again,

excepting those with sensitive or classified information) on-line at Senate websites and,

generally, through the web portal of the Government Publishing Office (www.govinfo.gov). In

addition, Members issue frequent press statements detailing their views and activities.

Accordingly, when it comes to the type of records that fall within the traditional common law

right of access – that is, “document[s] created and kept for the purpose of memorializing or

recording an official action, decision, statement, or other matter of legal significance, broadly


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conceived,” WLF II, 89 F.3d at 905 – Congress routinely makes publicly available such materials.10

       As to those limited instances when committee reports or hearings or floor proceedings are

not made public, Congress is best-situated, congruent with the independent operation of the

legislature mandated by the Constitution’s separation of powers, to make such determinations for

itself and has established rules for doing so. See, e.g., Senate Rule XXVI.5(b) (providing that

committee meetings and hearings “shall be open to the public,” unless, by committee vote, “it is

determined that the matters to be discussed or the testimony to be taken” will disclose information

in six defined categories); Senate Rules XXI and XXXI.2 (procedures for closing floor sessions).

       Accordingly, in light of the constitutional bases for Congress’s control of its records, D.C.

Circuit precedent recognizing Congress’s “undoubted authority to keep its records secret” as it

determines necessary, and the fact that congressional proceedings are already conducted largely

in public, the common law right of access to government records is not applicable to Senate

documents generally or the committee report sought here.

       B.      The SSCI Report Is Not Subject to Compelled Disclosure Under the
               Common Law Right of Access to Public Records.

       Not every record in the government’s possession is subject to the common law right of

access. “There is, for instance, no [common law] right of access to ‘documents which have

traditionally been kept secret for important policy reasons.’” In re Motions of Dow Jones & Co.,

142 F.3d at 504 (quoting Times Mirror Co. v. United States, 873 F.2d 1210, 1219 (9th Cir.

1989)). In such areas, where the government’s interest in secrecy categorically outweighs the

public interest in disclosure, the common law right gives way, such as with grand jury records.



       10
           Many Senate records that are not publicly available include constituent casework,
deliberative staff communications, draft legislative materials, schedules, and internal procedural
and operational matters, none of which would fall within the definition of a public record.

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See, e.g., In re Motions of Dow Jones & Co., 142 F.3d at 504 (“Although some have identified a

common law tradition of public access to criminal trials, this never extended to preindictment,

pretrial proceedings involving a grand jury.”); United States v. Smith, 123 F.3d 140, 156 (3d Cir.

1997) (“There is no common law right of access to grand jury materials. Unlike judicial records

to which a presumption of access attaches when filed with a court, grand jury materials have

historically been inaccessible to the press and the general public, and are therefore not judicial

records in the same sense.”).

       Similarly, classified documents have never been understood to be publicly available.

Indeed, far from there being any common law right to such information, there is a long tradition

that such records are not disclosed publicly. See Dhiab v. Trump, 852 F.3d 1087, 1094 (D.C.

Cir. 2017) (“[F]rom the beginning of the republic to the present day, there is no tradition of

publicizing secret national security information involved in civil cases, or for that matter, in

criminal cases. The tradition is exactly the opposite.”) (internal footnotes and citations

omitted).11 The courts, including the D.C. Circuit, have recognized the compelling government

interest in keeping classified documents secret, see Dhiab, 852 F.3d at 1098 (“It bears repeating

that the government ‘has a compelling interest in protecting . . . the secrecy of information

important to our national security . . . .’”) (quoting McGehee v. Casey, 718 F.2d 1137, 1143

(D.C. Cir. 1983)), and have held that this compelling interest in confidentiality outweighs any

countervailing public interest in disclosure under the common law right of access. “The law of



       11
           The first exemption to disclosure of agency records under FOIA is for classified
documents. See 5 U.S.C. § 552(b)(1). As explained in the legislative history of that provision,
“citizens both in and out of government can agree to restrictions on categories of information
which the President has determined must be kept secret to protect the national defense or to
advance foreign policy, such as [classified] matters. . . .” Clarifying and Protecting the Right of
the Public to Information, H.R. Rep. No. 89-1497, at 30-31 (1966).

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this circuit is that the need to ‘guard against risks to national security interests’ overcomes a

common-law claim for access.” Dhiab, 852 F.3d at 1098 (quoting United States v. Hubbard, 650

F.2d 293, 315-16 (D.C. Cir. 1980)).12

       The SSCI Report is classified based on the determination that it contains information the

release of which could damage the national security of the United States. The U.S. Government

has a compelling national security interest in keeping this classified Report secret that outweighs

any countervailing interest in public disclosure. The common law right of access does not permit

plaintiff to gainsay the extremely sensitive nature of the classified Report, nor should it dissuade

the Court from deferring to the political branches in determining the extent to which that Report

should be made public. Cf. Dep’t of the Navy v. Egan, 484 U.S. 518, 527 (1988) (“‘For reasons . . .

too obvious to call for enlarged discussion,’ the protection of classified information must be

committed to the broad discretion of the agency responsible, and this must include broad discretion

to determine who may have access to it. . . .”) (quoting CIA v. Sims, 471 U.S. 159, 170 (1985)).

       Further weighing against any interest in public disclosure of the classified SSCI Report is

the fact that the Report’s Findings and Conclusions and 500-page Executive Summary have been

declassified and released publicly, with minimal redactions. See ACLU v. CIA, 823 F.3d at 660

(referencing declassified Executive Summary as “minimally redacted”). As substantial

information on the Committee’s study and findings has already been made available to the



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           See also United States v. Majors, No. 07–CR–000471, 2010 WL 1241274, at *1 (D.
Colo. Mar. 15, 2010) (“The Court finds that the Government’s interest in protecting the national
security and preventing the unnecessary dissemination of classified information outweighs the
defendant’s and/or the public’s right of access to these materials.”); United States v. Al-Marri,
No. 09-CR-10030, 2009 WL 2949495, at *1 (C.D. Ill. Sept. 10, 2009) (finding that “the
Government’s interest in protecting the national security and preventing the unnecessary
dissemination of classified information outweighs the defendant’s and/or the public’s right of
access to these materials”).

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public, whatever additional benefit to the public interest might be gained from releasing the full

Report cannot outweigh the government’s compelling interest in maintaining its confidentiality.

        Accordingly, even if the doctrine applied to confidential Senate committee records,

plaintiff’s common-law-right-of-access claim to compel disclosure of the full SSCI report fails to

state a claim as a matter of law. See Dhiab, 852 F.3d at 1098 (“Because keeping the [classified]

recordings sealed is narrowly tailored to protect the government’s compelling interest in guarding

national security, intervenors cannot prevail on their common-law claim.”).

                                             CONCLUSION

        For the foregoing reasons, the Court should dismiss plaintiff’s complaint for lack of

jurisdiction and failure to state a claim.

                                               Respectfully submitted,

                                               /s/ Patricia Mack Bryan
                                               Patricia Mack Bryan, Bar #335463
                                               Senate Legal Counsel

                                               Morgan J. Frankel, Bar #342022
                                               Deputy Senate Legal Counsel

                                               Grant R. Vinik, Bar #459848
                                               Assistant Senate Legal Counsel

                                               Thomas E. Caballero
                                               Assistant Senate Legal Counsel

                                               Office of Senate Legal Counsel
                                               642 Hart Senate Office Building
                                               Washington, D.C. 20510-7250
                                               (202) 224-4435 (tel), (202) 224-3391 (fax)

Dated: October 19, 2021                        Attorneys for Defendants




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